Case 1:17-cv-00532-HG-KSC Document 36 Filed 05/17/18 Page 1 of 10    PageID #: 123




  Of Counsel:
  McGuinn, Hillsman & Palefsky

  Howard G. McPherson 5582-0
  737 Bishop Street, Suite 1640
  Honolulu, Hawaii 96813
  Telephone: (808) 778-7894
  Email: hgmcpherson@gmail.com

  John R. Hilssman Pro Hac Vice
  535 Pacific Avenue
  San Francisco, California 94133
  Telephone: (415) 421-9292
  Email: jrhillsman@mhpsf.com
  Attorneys for Plaintiff

                  IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

  CLIFFORD McARTHUR               )      Civ. 17-00532 HG-KSC
  RIGSBEE, as Personal            )      (Admiralty)
  Representative of the Estate of )
  Clifford Meredith Rigsbee, deceased,
                                  )      FIRST AMENDED COMPLAINT;
                                  )      CERTIFICATE OF SERVICE
               Plaintiff,         )
        vs.                       )      (Filed with written consent of
                                  )      Defendant City and County of
  CITY and COUNTY of              )      Honolulu, a municipal corporation,
  HONOLULU, a municipal           )      pursuant to Fed.R.Civ.P 15(a) (2))
  corporation,                    )
                                  )
               Defendant.         )      Trial: December 18, 2018
  ________________________________)
Case 1:17-cv-00532-HG-KSC Document 36 Filed 05/17/18 Page 2 of 10           PageID #: 124




                          FIRST AMENDED COMPLAINT

               Acting as the duly appointed Personal Representative of the Estate of

  Clifford Meredith Rigsbee, deceased, Plaintiff Clifford Mcarthur Rigsbee

  complains against Defendant City and County of Honolulu, as follows:

                          PRELIMINARY ALLEGATIONS
                           (Parties, Jurisdiction, and Venue)

                                      The Plaintiff

               1.    Plaintiff Clifford McArthur Rigsbee is the son of decedent

  Clifford Meredith Rigsbee (“Decedent”) and is the duly appointed Personal

  Representative of his father’s Estate (“Decedent’s Estate”).

                                     The Decedent

               2.    At all times material hereto, Decedent was a citizen and

  resident of the State of Hawaii, and was a “non-seafarer,” as that term is used in

  Yamaha Motor Corp., USA v. Calhoun, 516 U.S. 199 (1996). Decedent was born

  on January 9, 1953.

                                     The Defendant

               3.    Defendant City and County of Honolulu (“the City” or

  “Defendant”), is a municipal corporation organized and existing under the laws of

  the State of Hawaii. The Honolulu Fire Department (“HFD”) is a department

  and/or agency of the City. HFD employees are also employees of the City.




                                            2
Case 1:17-cv-00532-HG-KSC Document 36 Filed 05/17/18 Page 3 of 10         PageID #: 125




                                 Jurisdiction and Venue

               4.     As alleged more fully below, the incident and activities giving

  rise to this action: (1) occurred upon navigable waters within the State of Hawaii

  off the southeast coast of Oahu, less than one marine league from shore, (2) had a

  potentially disruptive impact on maritime commerce, and (3) had a substantial

  relationship to traditional maritime activity.

               5.     The Court has subject matter jurisdiction in admiralty pursuant

  to 28 U.S.C. 1333(1). This is an admiralty and maritime claim within the meaning

  of Rule 9(h) of the Federal Rules of Civil Procedure.

               6.     Venue is properly laid in this district in that the acts and

  omissions complained of occurred here.

                                  OPERATIVE FACTS
                                  (The Subject Incident)

               7.     On June 14, 2016, Decedent was employed by HFD with the

  rank of Fire Fighter (“FF”) III and was assigned that day to HFD rescue watercraft

  (“RWC”) training on the southeast shore of Oahu near Diamond Head.

               8.     The training was conducted under the command of HFD

  Captain Alan Park and was planned to take place in the ocean where large waves

  were expected to build throughout the day.




                                             3
Case 1:17-cv-00532-HG-KSC Document 36 Filed 05/17/18 Page 4 of 10       PageID #: 126




               9.    Prior to the training, the National Weather Service (“NWS”)

  had issued a high-surf advisory for the southeast facing shores of Oahu that day,

  with five-to-eight-foot wave faces expected.

               10.   The objectives for the training included beach launching

  operations at Kaimana Beach Park and familiarization of entry/exit zones for the

  various surf breaks and shorelines in the area.

               11.   At approximately 10:30 a.m., Decedent and FF I Matthew

  Martin (“Martin”) proceeded offshore from Kaimana Beach for training aboard the

  HFD’s Boat 7, a RWC consisting of a jet ski with attached sled, which was a

  “vessel” within the meaning of 1 U.S.C. § 3. Martin was operating the vessel and

  Decedent was riding prone atop the sled.

               12.   The vessel proceeded to open ocean and turned east toward

  Diamond Head Lighthouse, out of the view of Captain Park at Kaimana Beach.

               13.   A few minutes later, Martin drove Boat 7 through three

  consecutive waves, each of which was eight-feet-high or taller, the first two of

  which had already crested and broken. Immediately after the vessel travelled over

  the third wave, Martin looked back and saw Decedent face down in the water not

  moving, about five feet away from the vessel.




                                             4
Case 1:17-cv-00532-HG-KSC Document 36 Filed 05/17/18 Page 5 of 10           PageID #: 127




               14.   Martin determined Decedent was unresponsive and called for

  help. With the assistance of an off-duty firefighter surfing nearby, Decedent was

  brought ashore at Makalei Beach Park, east of the vessel’s launch site.

               15.   Personnel from HFD and the City’s Ocean Safety Department

  and Emergency Medical Services were summoned to provide lifesaving care for

  Decedent at the scene. Decedent was then transported by ambulance to Straub

  Medical Center (“Straub”) at approximately 11:30 a.m.

               16.     Decedent died at Straub approximately 60 hours later, at 11:25

  p.m. on June 16, 2016. The cause of his death was determined at autopsy by the

  City Medical Examiner to be blunt force injury to the head and neck with cervical

  vertebrae fractures and spinal cord injury.

               17.   As hereinafter more fully appears, Decedent was conscious and

  in pain during a substantial portion of the hours at Straub before his passing, aware

  of his impending death.

                              FIRST CAUSE OF ACTION
                            (Negligence – Survival Damages)

               18.   Plaintiff incorporates as though fully set forth herein all of the

  allegations of paragraphs 1-17 hereinabove.

               19.   This action arises under general maritime law recognized in

  Moragne v. States Marine Lines, 398 U.S. 375 (1970), Sea-Land Services, Inc, v.

  Gaudet, 414 U.S. 573 (1974), Sutton v. Earles, 26 F.3d 903 (9th Cir. 1994), and


                                            5
Case 1:17-cv-00532-HG-KSC Document 36 Filed 05/17/18 Page 6 of 10          PageID #: 128




  Evich v. Morris, 819 F.2d 256 (9th Cir. 1987). Federal maritime remedies may be

  supplemented by the law of Hawaii pursuant to Yamaha Motor Corp., USA v.

  Calhoun, 516 U.S. 199 (1996).

               20.   Pursuant to In re Catalina Cruises, Inc., 137 F.3d 1422 (9th Cir.

  1998), and other authorities, during the aforementioned HFD offshore RWC

  training, under general maritime law the City and all of its involved employees and

  agents owed Decedent a duty of reasonable care under the circumstances,

  requiring, among other things, “where the risk is great because of high seas, an

  increased amount of care and precaution[.]” Id. at 1425-1426.

               21.   The City, through its employees and agents involved in the

  aforementioned RWC training, beached the duty owed to Decedent in multiple

  ways, including but not limited to the following:

                     (a)    in failing to perform a proper and adequate risk

  assessment for the area and sea conditions in which the RWC training and injury

  occurred, especially given the high-surf advisory in effect on the day of this

  incident and the City’s actual notice of prior injuries during RWC training;

                     (b)    in failing to provide effective supervision and instead

  allowing the RWC training to proceed unsupervised out the view of the training

  commander Captain Park; and




                                           6
Case 1:17-cv-00532-HG-KSC Document 36 Filed 05/17/18 Page 7 of 10          PageID #: 129




                     (c)    in failing to identify appropriate training objectives and

  establish appropriate safety procedures, and instead allowing the RWC training to

  proceed in a wave impact zone and/or while traversing waves or swells, despite the

  fact that wave heights were large and expected to build throughout the day.

               22.   As direct, proximate, and legal result of the hereinabove alleged

  breaches of duty by the City, Decedent consciously suffered great physical and

  emotional pain and distress before his death, all to his nonpecuniary damage in an

  amount to be determined at the time of trial herein, and for which Decedent’s

  Estate is entitled to compensation.

               23.   Prior to his injury during the RWC training, Decedent was only

  63 years old, extremely fit, and in excellent health. As a further direct, proximate,

  and legal result of the hereinabove alleged breaches of duty by the City, Decedent

  suffered a hedonic loss of his “enjoyment of life,” as that phrase is used in HRS §

  663-8.5, Montalvo v. Lapez, 884 P.2d 345, 347 n.2 (Haw. 1994), and Hambrook v.

  Smith, 2016 WL 4408991 (D.Haw.) at *40-41, all to his further nonpecuniary

  damage in an amount to be determined at the time of trial herein, and for which

  Decedent’s Estate is entitled to compensation.

               24.   As a further direct, proximate, and legal result of the

  hereinabove alleged breaches of duty by the City, Decedent incurred a loss of

  future earnings and income, medical expenses, and expenses of funeral and burial,



                                           7
Case 1:17-cv-00532-HG-KSC Document 36 Filed 05/17/18 Page 8 of 10           PageID #: 130




  all to his pecuniary damage in an amount to be determined at the time of trial

  herein, and for which Decedent’s Estate is entitled to compensation.

                           SECOND CAUSE OF ACTION
                       (Negligence – Wrongful Death Damages)

               25.   Plaintiff incorporates as though fully set forth herein all of the

  allegations of paragraphs 1-24 hereinabove.

               26.   The hereinabove alleged breaches of duty by the City, and each

  of them, were direct, proximate, and legal causes of Decedent’s death.

               27.   Decedent was only 63 years old on the date of this death.

  Immediately prior to his death, he was an adult person in excellent physical and

  mental health and condition, and was a loving and supportive father and

  grandfather. As a direct, proximate, and legal result of Decedent’s death, Plaintiff

  has suffered the permanent loss of his father’s society, including but not limited to

  loss of his care, comfort, services, guidance, training, instruction, advice, example,

  nurture, support, love, affection, and devotion, all to Plaintiff’s nonpecuniary

  damage in an amount to be proven at the time of trial herein.

               28.   Ms. Amy L. Wheatley (“Ms. Wheatley”) is the daughter of

  Decedent, and as a direct, proximate, and legal result of Decedent’s death, has

  suffered the permanent loss of her father’s society, including but not limited to loss

  of his care, comfort, services, guidance, training, instruction, advice, example,




                                            8
Case 1:17-cv-00532-HG-KSC Document 36 Filed 05/17/18 Page 9 of 10         PageID #: 131




  nurture, support, love, affection, and devotion, all to her nonpecuniary damage in

  an amount to be proven at the time of trial herein.

               29.   For approximately ten years prior to his death, Ms. Jennifer M.

  Coomey (“Ms. Coomey”) was the unmarried partner of Decedent in a committed

  couple relationship, in which she depended upon him, and he upon her, for

  physical, moral, and/or social necessities, including physical and emotional

  intimacy and a wide variety of other physical and social activities they engaged in

  together as a committed couple. Decedent also supported Ms. Coomey in repairing

  and maintaining her residence, where he stayed and which he shared with her

  much of the time when not working.            After his injury, while consciously

  contemplating his impending death, Decedent desired to marry Ms. Coomey and

  intended to do so, until his medical circumstances worsened and time ran out for

  him. As a result of Decedent’s death, Ms. Coomey has lost his love and affection,

  his society, companionship, comfort, consortium, protection, and support, all to her

  nonpecuniary damage in an amount to be proven at the time of trial herein. Ms.

  Coomey’s right to recover for these losses is asserted pursuant to the state law

  supplemental remedy doctrine articulated in Yamaha Motor Corp., USA v.

  Calhoun, 516 U.S. 199 (1996), and the substantive state law wrongful death

  remedy described in Lealaimatafao v. Woodward-Clyde Consultants, 75 Haw. 544,

  867 P.2d 220 (1994).



                                            9
Case 1:17-cv-00532-HG-KSC Document 36 Filed 05/17/18 Page 10 of 10        PageID #: 132




              WHEREFORE, Plaintiff prays judgment be entered in his favor, and

  against Defendant, awarding the following:

              A.    Pecuniary and nonpecuniary damages according to proof;

              B.    Costs of suit and attorneys’ fees;

              C.    Prejudgment and post-judgment interest according to law; and

              D.    Such further relief as the Court deems just and proper.

              DATED: San Francisco, California, May 17, 2018.


                                       /s/ John R. Hillsman
                                       HOWARD G. McPHERSON
                                       JOHN R. HILLSMAN
                                       Attorneys for Plaintiff




                                          10
